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                 Exhibit
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


    Philadelphia Yearly Meeting of the
    Religious Society of Friends, et al.,

                   Plaintiffs,

    v.

    U.S. Department of Homeland                        Civil Case No. ___________
    Security, et al.,

                   Defendants.



                         DECLARATION OF RONI J. KINGSLEY

         I, Roni J. Kingsley, declare under penalty of perjury, under 28 U.S.C. § 1746,

that the following is true and correct:

         1. I am Clerk of the Richmond Friends Meeting, located in Richmond, Virginia.

         2. The Richmond Monthly Meeting is a congregation of the Religious Society of

            Friends.

         3. It is part of the Baltimore Yearly Meeting, a regional Meeting of the

            Religious Society of Friends. The Baltimore Yearly Meeting has existed for

            more than 300 years.

         4. I began attending the Richmond Friends Meeting in 1989 and became a

            member around 2000.




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    5. I have served as Clerk of the Richmond Friends Meeting since 2024. I

       served as Assistant Clerk from 2022-23.

    6. I have been part of a number of committees in my time as an attendee and

       member of the Richmond Meeting, including the Peace and Social Concerns,

       Building and Grounds, Care and Counsel, Technical Support, Nominating,

       and Ministry and Worship Committees. Some committees require

       membership, some do not.

                   Richmond Friends Meeting and worship

    7. I regularly attend weekly worship at the Richmond Friends Meeting House.

    8. The weekly worship meetings take place every Sunday, one at 9:30 a.m. and

       one at 11:00 a.m. Our meetings are open and anyone may attend.

    9. The Richmond Friends Meeting congregation has roughly 225 regular

       attendees and members.

    10. Richmond Friends Meeting is made up of attendees and members.

       Attendees are any people who attend our meetings. Members are people

       who have gone through the formal process of becoming a member of

       Richmond Friends Meeting and thereby the broader Religious Society of

       Friends.

    11. An attendee can become a member by making a written request to the Clerk

       of Meeting who will then pass the request to the Care and Counsel

       Committee. This committee forms an ad hoc committee called a clearness

       committee. Members of the clearness committee meet, sit, and discuss



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        membership with the interested individual. If everyone feels clear following

        this process, the decision goes to the full Care and Counsel Committee

        which will make a recommendation for membership to the entire Richmond

        Friends Meeting at a monthly business meeting. Typically, approval is “held

        over” until the following month’s business meeting to give people from

        meeting the opportunity to speak with the individual should they wish to.

    12. The Richmond Friends Meeting is nonhierarchical. That means there is no

        clergy that leads worship, decides religious doctrine, or determines the

        content of any meeting for worship. Instead, we gather in silence for

        worship.

    13. At meetings for worship, we gather in silence for a period of Spirit-led

        waiting worship that lasts one hour. A member of the Care and Counsel

        Committee is at the open door to greet people, especially newcomers. People

        find places to sit, and all benches face the middle. A member of the Ministry

        and Worship Committee sits on “facing bench” (a bench near the front of the

        room). This person will initiate and end worship as well as guide

        announcements after worship. There is no program of content planned in

        advance. If someone is moved to share a message, they rise and do so. This

        is called vocal ministry. Vocal ministry can take the form of giving a

        message, saying a prayer, singing a song, or asking the meeting to join them

        in song. When they are finished, they sit back down.




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    14. Individuals typically only share once during a meeting. People are asked not

        to respond to each other during meeting, but sometimes a thread or theme

        develops throughout a meeting. Some times there are no messages during a

        meeting. An hour of silence is not uncommon.

    15. At the end of the hour, there is a shaking of hands initiated by the person on

        facing bench, which signals the end of worship.

    16. On the third Sunday of every month, worship includes the business of

        Richmond Friends Meeting. It is referred to as Meeting for Worship with

        Attention to Business

    17. On weeks where worship with attention to business takes place, the

        meeting hears recommendations from its committees about actions that the

        meeting may take and attends to perfunctory matters, like budgeting.

            Richmond Friends Meeting’s decision making process

    18. Richmond Friends Meeting seeks unity in our decision-making. We seek

        unity as a body, we do not vote. Decision-making is undertaken by the whole

        body, and it does not matter how long someone has been attending meeting.

        Nor does it matter whether they are an attendee or a member.

    19. It is the Clerk’s job to help the meeting consider the business before it. The

        Clerk does not control the conversation. Instead, the Clerk helps to guide

        consideration of the matters at hand.

    20. The Clerk must get a sense of the unity and then test whether the meeting

        has come to unity during discernment.

      Richmond Friends Meeting’s immigrant community interactions

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    21. In addition to being open to all, the Richmond Friends Meeting and its

        members engage directly with our local community in a host of ways.

    22. Richmond Friends Meeting House hosts English classes for refugees and

        immigrants.

    23. Richmond Friends Meeting House specifically makes the meeting house

        available to the community and for people that need space.

    24. Being open to all is part of our ministry and core to our religious beliefs.

    25. As part of our ministry, Richmond Friends Meeting House has supported

        immigrant women through programming and financial assistance, including

        sewing courses and helping to purchase sewing machines.

    26. Unofficial community engagement is encouraged at the Richmond Friends

        Meeting as well, and members try to live through their values in the

        community, not just during meetings.

    27. As an expression of living our faith through values in the community,

        attendees and members of the Richmond Friends Meeting have volunteered

        to drive people to immigration appointments, meet immigrants as they

        arrive at bus stations, and sponsor new immigrant families when they

        arrive in Richmond in partnership with Catholic Charities.

                   The importance of meeting with all-comers

    28. Richmond Friends Meeting is open to all-comers. It does not matter if it is

        someone’s very first meeting or if they have been coming for decades. The

        doors are open, physically and metaphorically, to all at Richmond Friends

        Meeting. That is part of how we practice our faith.

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    29. At Richmond Friends Meeting, we give testimony to our spiritual lives by

       the way we live. Quakerism is not about what you believe, it’s how you live.

       Our testimonies (Simplicity, Peace, Integrity, Community, Equality, and

       Stewardship of the Environment) are how we live our faith: personal, family

       life, in the community, and in the world.

    30. Richmond Friends Meeting is rooted in communal experience. When

       someone speaks during meeting, it is similar to when a pastor speaks to a

       congregation, and it’s to be taken the same way. It is ministry given to the

       congregation.

    31. At Richmond Friends Meeting, the form of worship is “waiting worship.”

       Everyone is collectively waiting together on Spirit. Our worship is not

       solitary, there is an understanding that we are gathered as a body. The

       meeting is not 50 distinct people sitting on their individual cushions. There

       is a spiritual connectedness to it. Even at a meeting where there might not

       be a message, there is a sense of togetherness with every single person in

       the room.

     Effects of ICE Enforcement at Richmond Friends Meeting and the
                   presence of armed immigration officers

    32. Any immigration enforcement action during our meetings would seriously

       harm Richmond Friends Meeting and its members.

    33. Already, the threat of armed immigration officers has begun to have an

       impact on our meeting. At the suggestion that ICE could begin enforcement

       in or near a meeting, an attendee asked whether we would need to start


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        locking our doors during meetings. Closing off the meeting to the public is

        something we have never done before because it interferes with our

        religious commitment to communal worship.

    34. The knowledge that ICE agents can interrupt our worship is also already

        making our members less likely to attend. A member of color expressed

        concern that he could be mistaken for being undocumented and feared the

        idea of enforcement actions in or around the meeting. We have other

        attendees of color who are less comfortable at meeting now that armed

        immigration officers can operate in or around the meeting.

    35. The method of worship at Richmond Friends Meeting, open worship, works

        only because everyone is in a circle together. The doors are open, there’s a

        greeter at the doorway to welcome people in. All of that is part of the

        spiritual hospitality that we want to have. The idea of the presence of law

        enforcement—or the threat of that presence—goes against that.

    36. Pacifism is deeply ingrained in the Quaker faith and is the ideal that

        brought so many people to the doors of Richmond Friends Meeting. Our

        pacifism is much more than a surface level opposition to war. Pacifism is

        deeper and broader than that. For us, it includes inward peace and peace at

        home.

    37. Knowingly putting a person in harm’s way or risking their involvement in a

        violent encounter violates my religious beliefs. Having weapons or armed

        people in or around the meeting is inconceivable and contrary to our faith.



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    38. In our manner of waiting worship, we sit quietly, release distractions, and

        settle into an inner stillness that leads to Spirit-led listening. For this

        reason, too, having weapons or armed people in or around the meetings is

        inconceivable and contrary to our faith. Even the idea of there being

        weapons at meeting is distressing enough to make it very difficult to engage

        in waiting worship and will discourage attendance.




Henrico County, Virginia
January 26, 2025




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